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    '
    1'




         1   Pritish Vora
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         5   AmicU:s Curiae, Pro Se
                                                                                                                                   1   I
         6
         7
         8                                          \                    .
                                                UNITED STATES DISTRICT _COURT
         9
                                                        DISTRICT OF COLORADO
    10
    11
             DAN ROBERT et. al.,                                             Case No.: 1:21-cv-02228-RM-STV
    12
                                 Plaintiffs,                                 AMICUS CURIAE BRIEF OF PRITISH
    13
                        vs.                                                  VORA, Pro Se
    14
             LLOYD AUSTIN et. al.,
1
    15
                                 Defendants.                                 Hon. Judge Raymond P. Moore
    16
    17
    18       COMES NOW, Pritish Vora, Amicus Curiae, by way of Pro Se, files with the Honorable Court
    19       his amicus curiae brief in the above referenced matter, and states as follows:
    ·2 O                                        INTEREST OF THE AMICUS CURIAE
    21                  Amicus Curiae (" Ainicus'') submits this informational brief in support of the Plaintiffs
    22       Dan Robert ("Robert"), Hollie Mulvihill (:'Mulvihill"), and the 200,000 others in the Armed
    23       Forces who are facing the order from the Secretary of the Department of Defense ("DoD") to
    24       become fully vaccinated with the Pfiz~r-BioNTech Covid-19 mRNA vaccine 1 or face
    25       aisciplinary action. (Hereinafter for simplicity the order referred to as "the ~oD mandate.").

    26 •
             1
                 Amicus uses the word "vaccine" for convenience, but wholly rejects the notion of the Covid-19. injections being
    27
             "vaccines." They are not. These are novel gene therapies.using mRNA technology that do not use a live or
    28                                                        I
             attenuated virus to stimulate an immune response. They are considered "biological products" and/or "drugs."

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 1               Amicus provides information to this c'ourt from publicly available sources found on the
 2    following sites, including, but not limited to, FDA.gov, CDCgov, HHS.gov, SENATE.gov, and
 3    publicly available court filings on CourtListener.com via its RECAP archive, which are also
 4    available on PACER.gov., of facts that warrant judicial notice,2 and of facts that may escape the
 5    Court's consideration.
 6               This brief was not authored in whole or in part by counsel repres~nting any party in this
 7    case. Amicus can observe objectively the pandemic that has grappled the nation·over what now
 8    has transgressed into the Covid-19 vaccine mandate hysteria. Indeed, as Amicus types this brief,
 9    the country is now in Day 624 of"15 days to slow the spread" announced on March 16, 2020.
10    Amicus has not received any monetary compensation to file this brief from any source, and does
11    so at his own time, effort and expense.
12               Amicus shall focus on three distinct parts for the purpose of this brief and shall provide
13    the Court with supporting references for each:
14               1. COMINARTY is not interchangeable with the Pfizer-BioNTech Covid-19 vaccine.
15               2. The Centers for Disease Control and Prevention ("CDC") lists "Deaths with
16    confirmed or presumed COVID-19," thereby making the total amount of deaths unquantifiable.
17               3. "DEATH" is a listed serious adverse event following administration of the Covid-19
18 · vaccine in the _ emergency use authorization ("EUA") fact sheet provided to healthcare providers
19    (i.e., vaccine providers). "DEATH" is not listed as a side effect in the fact sheet provided to the
20    recipients (i.e., those who are receiving the Covid-19 vaccine). (Emphasis added).
21            I. "COMINARTY" is not interchangeable with Pfizer-BioNTech Covid-19 vaccine.
22               The mainstream media, ~hipped into a frenzy over an FDA press release, on August 23,
23    2021, proffered.a false reality that has permeated into the minds of the masses as well as the
24    Federal District Courts regarding an "FDA approved" COMINARTY Covid-19 vaccine, when
25    no such FDA approved vaccine was readily available to                u:s. consumers.
26
      2
          Defendants requested the Court to take judicial notice of factual information available on government websites,
27
      citing Tellabs. Inc. v Makor Issues & Rts .• Ltd., 551 U.S., 308, 322-23 (2007). (See Def. Op., Doc 36 at 3, n.l).
28
      Amicus therefore requests the same.

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   1               During the early part of the litigation, when the facts were not yet fully developed, the
   2    Court issued an ORDER denying the TRO filed by Plaintiffs. The Court stated as follows:
   3    "Moreover, as is now common knowledge, the Food and Drug Administration has now fully

   4    approved a COVID-19 vaccine, likely rendering moot Plaintiffs' underdeveloped arguments ,
   5    concerning the emergency use authorization for the vaccines currently available." (See Doc 12,

   6    ORDER at 8). (Emphasis supplied).
   7               Plaintiffs have since briefed extensively regarding the two letters sent by FDA to Pfizer
   8    on August 23, 2021. The first letter granted the approval of the BLA (biologics license
   9    application) to BioNTech in Mainz, Germany to produce, label, and market "COMINARTY,"
1 O,    subject to specific terms and conditions. The second letter extended the current EUA for the
11      Pfizer-BioNTech unapproved mRNA Covid-19 vaccine for those 12 years of age and older. (See
12      Docs 26-2 and 26-3, respectively).
13                 Amicus respectfully requests the Court to take judicial notice of two letters sent by
14      Senator Ron Johnson (R-WI) 3 ("Sen. Johnson") to the FDA, one on August 26, 2021,4 and a
15      follow up letter on October 7, 2021, seeking answers to questions regarding the "de facto
16      endorsement of an EUA vaccine to support mandates, "and the availability of CO MIN ARTY. 5

l ":/   According to Sen. Johnson, despite requesting an expeditious response, acting commissioner
18      Janet Woodcock failed to respond. (Emphasis added).
19                 Amicus informs the Court that Sen. Johnson also held a hearing on November 2, 2021,
20      which included sworn testimony from Lt. Col. Theresa Long, MD, MPH, FS, Brigade Surgeon
21      for the pt Aviation Brigade, US ARMY. 6 (See also boc 30-2, Exhibit 18, affidavit of Dr.
22      Theresa Long). It is worthy to note that the letter to Pfizer extending the EUA' dated August 23,
23
        3
            Senator Johnson served as the Chairman of the Homeland Security and Governmental Affairs Committee from
24
        2015-2021 and now is the ranking member for the Permanent Subcommittee on Investigations.
25
        4
            https://www.ronjohnson.senate.gov/services/files/50503B93-EB6A-49C3-ADAA-4B93200D32D5
26
        5
            https://www .ronjohnson.senate.gov/2021/10/sen-johnson-continues-to-press-the-fda-pfizer-biontech-on-
27
        transparency-and-politicization-of-vaccine-approval-process (last visited Dec. 1, 2021)
'28
        6
            https://www.bitchute.com/video/DoZnwZOiXr5X/ (last visited Dec. 1, 2021)

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     1    2021, has been "purged" from the FDA.gov search results. Sen. Johnson, in his follow-up letter
     2.
     ,,
          to the FDA dated October 7, 2021, states in a footnote that the August 23, 2021 letter appears to
     3    have been "removed." Fortunately, it was filed in this docket, and is available for free download
     4    on CourtListener.com via its RECAP archive. 7
     5            ,. The August 23, 2021 letter addressed to Elisa Harkins at Pfizer from Denise Hinton at
      6   FDA, states as follows: "Alf. descriptive printed matter, advertising, and promotional material
     7    relating to the use ofthePfizer:.Bio}!Tech COVID-19 Vaccine clearly and conspicuously shall
     8,   state thqt: "This product has not been approved or licensed bv FDA. but has been authorized
      9   for emergency use bv FDA under an EUA to prevent Coronavir~s Disease 2019 (COVJD.;f9)
10        for use in individuals 12 years of age and older." (See Doc 26-3, pages 11 and 12 ofletter,
11        marked as pages 12 and 13 in filed document). (Emphasis added)
12                   Amicus informs the Court of the following additional facts that warrant ju9icial notice.
13        CDC.gov states as follows: "COMINAR TY products are not orderable at this time. NDCs are
14        listed as per FDA.Structured Product Label (SP L) document for the BLA licensed product. These
,15       codes are not included in the CDC Vaccine Set Files at this time. " 8 (Emphasis added).
                                                                                                       '
16                   The National Institutes of Health ("NIH"), on NIH.gov, also states as follows; placing in
17        doubt to any reasonable factfinder as to why a: product would be "approved" and yet still not be
                                                                                                       "
18        available: "Pfizer received FDA BLA license.on 8/23/2021 for its COVID-19 vaccine for use in
19        individuals 16 and older (COMINARTY). At that time, the FDA published a BLA package insert
20        that included the approved new COVID-19 vaccine tradename COMINARTY ... ". "At present,
21        Pfizer does not plan to produce any product with these new NDCs and labels over the next few
22        monrhs while EVA authorized product is still available and being made available for US.
23        distribution ... As such, the CDC, AMA, and drug compendia may not publish these new codes
2.4       until Pfizer has determined when the product will be p~oducea with the BLA labels."                   9

 '
25        (Emphasis added).
26
          7
              https://www.courtlistener.com/docket/60219585/robert-v-austin/ (last visited November 30, 2021)
27
          8
              https://www.cdc.gov/vaccines/programs/iis/COVID-19~related-codes.html (last visited November 30, 2021)
28
          9
              https://dailymed.nlm.nih.gov/dailymed/ (last visited November 30, 2021)

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    1                   The American Medical Association ("AMA") has a~ online resource tool 'to track each
    2       specific Covid-19 vaccine for immunization purposes. 1~ Pfizer-BioNTech, Modema, and Janssen             '
                                          '                                                .
    3       are listed, with their respective "boosters." COMINARTY is not listed; it does not exist.
             :,                                                                                       ~     .



    4                   The Pfizer-BioNTech Covid-19 vaccine had its EUA issued on December 11, 2020, then
    5       reissued multiple times, starting on December 23, 2020, then February ~5, May 10, June 25,
    6       August 12, August 23, S~ptember 22, and October 20, 2021, respectively, me~ing ALL the
    7       vaccine providers who are administering the EUA products are still administering the EUA
    8 · products. The FDA letter makes it abundantly clear that an EUA means "unapproved."
    9                   Amicus informs the Court of the BLA product in~ert for COMINARTY, a publicly
                                                                                                                         ·'
  10        _available document found on FDA.gov. 11 On page 5, under the section titlect'"2.3 Vaccination
  11        Schedule," it states as follows: "COMINARTY is administered intramuscularly as a series of 2

  12        doses (0. 3 mL each) 3 weeks apart. ]here are no daia available on the interchangeability of

  13        COMINARTY with other COVID-19 vaccines to complete the vaccination series. Individuals
· '14       who .have received 1 dose of COMINART.Y should receive a second dose of COMINARTY to

  15        complete the vaccination series. " (Emphasis added).

  16                    Plaintiffs attached the search results from the FDA Purple Book to their motion f9r
  17        preliminary injunction, also found on FDA.gov. 12 (See Doc 30-1, Exhibit 17). See also, in,
  18        general, F.R.Civ.P. l0(c). Any person with a laptop or iPad, an Internet connection, and can type
  19        "'COMINARTY" in the search field will come to the same results': there is NObiosi~ilar and
  20        NO interchangeable data to compare with COMINARTY.
  21                    In their opposition to Plaintiffs motion, Defendants state the following: "Plaintiffs do
        '
  22        not dispute that the license"d vaccine and the EUA vaccine are medically interchangeable. " (See
  23                                           . 9-12).
            Def. Op. at 21, citing Plaintiffs Mot. ,.   Defendants are playing a clever sleight-of-hand, and
                                               C


  24        the Court should not be persuaded. As Amicus will show, Plaintiffs have said no such thing.
  25                    By way of example, in paragraph 32 of Plaintiffs motion, Plaintiffs state as follows:
                                                                               '                                .•
  26'
            10
                  https://www.ama-assn.org/find-covid- l 9-vaccine-codes (lasfvisited Novem_ber 30, 2021)
  27
            11
                  https://~ww .fda.gov/media/151707 /download (last visited November 30, 2021)
  28
            12                                                     '
                  https://purplebooksearch.fda.gov/' (last visited November 30, 2021)

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                1    _"PfizerBNT FACT SHEET (Exh. 12 to Amended Complaint, ECF #29). also attempts to confus~
                2    recipients by stating that the two different vaccines "have the same formulation and can be ·used
                3    interchangeably to provide the COVID-19 vaccination series[}" (emphasis adde~)." (See Doc
                4    30 flaintiffs motion, ,r 32 at 10). Plaintiffs did NOT concede whatsoever that the products were
                5    interchangeable. Instead, Plafntiffs quoted verbatim from what was written it?- the Pfizer-
                6    BioNTech fact sheet and claimed the FACT SHEET "attempts to confuse 'recipients."
                7    (Emphasis added).-Each of the follow-up paragraphs in Plaintiffs motioncited by Defendants
                8    speaks for itself. (See Doc 30, at 1~-12).
                9               Defendants claim that the DoD has "received hundreds of thousands of BLA-
     ~


               10    manufactured, EUA-labeled vaccine doses, and-is using them." (See Def. Op. at 21). In the next
,.             11 .sentence, Defendants then claim, "Plaintiffs do not plausibly allege any facts to the contrary."
               12. However, there has been no discovery as to what Defendants may or may no't have in their
              ' 13   possession. It appears that De~endants want the Court to adopt the FDA's "bait and switch."
               14               Amicus informs the Court that-the CDC stores files for Covid-19 lot numbers from
               15    vaccine manufacturers which are available to registered users only, such as healthcare and
               16    pharmacy organizations.,The lots are not-for'licensed Covid-19 vaccines. (Emphasis added).
               17    By way of example, according to CDC.gov, "These files contain all lots for COVID-19 vaccines
         ,.
               18    made available under Emergency Use Authorization (EUA) for distribution in the United
              ' 19   States ... The vials and cartonsfor.COVID-19 vaccines authorized under EUAs are not 2D
               20    barcodedfollowing the standards usedfor products licensed by the US 'F:ood and Drug
               21    Administration, so lot number and expiration dates may not be scanned into the system ..'1    13


               22    Indeed, the CD~ makes a clear distinction between li_censed vaccines and those authorized under
               23    an EUA. The CDC lias no such.files for licensed Covid-19 vaccines because none exist.
               24               The FDA Purple Book, FDA letters to Pfizer, COMINARTYproduct insert, Sen.
               25    Johnson letters to the FDA, and the Pfizer-BioNTech fact sheet are all inextricably intertwined.
               26    A reasonable trier-of-fact may eventually conclude post discovery that these documents, along
                                                                                                 '
               27    with certain.facts on CDC.gov, doom.the Defendant's thesis of"interchangeability."
               28                                                                                                        ',.
                                                                                                                         •,
                     13
                          https://vaccinecodeset.cdc.gov/LotNumber (last visited Dec. 1, 2021)

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     .1        II. THE CDC LISTS'"DEATHS WITH COVID-19" AS CONFIRMED OR PRESUMED
     2                  '
                     Amicus informs the Court that the CDC.gov reports Weekly Updates by demographics
     3    regarding death counts for COVID-19. 14 Defendants state the following: " ... more than 770,000
     4    have diedfr.omCOVID-19." (See Def. Op. at 3). "As ofNovember 17, 2021, there have been
     5    252,658 cases ofCoronavirus Disease 2019 (COVID-19) in service members across DoD, of
     6    which 2,280 have required hospitalizations and led to 76 deaths ... none were fully vaccinated.·"
     7    (See'.Decl. of Major Scott Stanley, Doc 37-13 at, 3). ("Stanley Deel."). "As a result of COVID-
     8    19, there have been 20 deaths among Service members, contractors, Department ofArmy
     9    civilians,.andfamil)l_members at Fort Rucker. In addition, there hav~ been more than 3,000
    10    reported·cases ofCOVID-19\ across that population as ofNovember 19, 2021." (See Deel. of
                                                      .


    11    Col.Whitney B. Gardner, Doc. 37-19.at, 3). ("Gardner Deel.").
    12               Amie us does not undermine any pei;son' s death, especially that of a member of the                        .
    13    Armed Forces, however, Amicus simply informs the Court that the DoD mandate pursuant to the
    1'4   "public health emergency" is not supported by the data.
    15               By way of example, pursuant to the Stanley Deel., 76 deaths among 252,658 cases
    16    represents a percentage infection fatality rate of .0003%, or three ten thousandths of one percent.
.   17    By way of example, purs,uant to the Gardner Deel., 20 deaths ~ong 3,000 cases repres~nts a
'
    18    per~entage infection fatality-rate of .0066%, or approximately seven thousandths of a percent.
    19    Effectively, the risk of a Service Member dying from Covid-19 is/was statistically ZERO.
    20    Putting it differently, the case survival rate is well over 99%.
    21               Besides, the Stanley Deel. claims "none were fully vaccinated, " which means some may
    22    have been partially vaccinated, thus suffering an adverse event from the Covid-19 vaccine, or
    23    were given Remdesivir, which has well documented side-effects. The Gardner Deel. does not
    24    .state whether any of the 20 deaths were partially vaccinated, or any information whatsoever as to
    25    the specifics that led to their respective hospitalization and eventual death.
    26               Furthermore, the Stanley Deel. makes somewhat of a bizarre claim to explain why
                          -'I                               •      J                               '




    27    MORE vaccinated people are getting breakthrough cases. According to Stanley,                 "if every service
    28
          14
               https://www.cdc.gov/nchs/nvss/vsrr/covid weekly/index.htm (last visited Dec. 1, 2921)
                                                                                                                           I,

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      1       member were vaccinated, only vaccinated individuals would have infections or-be hospitalized."
      2. (See Stanley Deel. ~ 18). Of course, being hospitalized post-vaccination defeats ~he. purpose of
      3       getting the Covid-19 vaccine. (Emphasis added).
      4                  The CDC also includes footnotes in their Weekly Tracker data ip. the same link. (See
      5       n.14). The footnote marked as [1] is for Covid-19 deaths, and it states as follows, "Deaths with
      6       confirmed or presumed COVID-19, coded to ICD-10 U07.J" (Emphasis added). This ICD code
      7       is used for reimbursement purposes, with or without a labor~tory confirmed Covid-19 test.
      8                  Amicus informs the Court that ir'any of the Covid-19 cases and/or deaths are

.'    9       "presumed," then the number of actual cases or deaths "with Covid-19" are inappropri_ately
     10       exaggerated, as it does not ~ake into consideration a person's co-morbidities or treatments.
     11       provided once hospitalized. Indeed, the CDC does not specify how many deaths listed in the
     12       Weekly Tracker are "confirmed" versus "presumed," and neither have Defendants.
     13                  According to the CDC, "those at highest risk for severe disease and death include people
     14       aged over 60 years (especially those 85 years and older) and those with underlying conditions,
     15       i'l}cluding, but not limited to obesity, hypertension, diabetes, cardiovascular disease, chronic
     16       respiratory or kidney disease, immunosuppressionfor solid organ·transplant, and sickle cell
     17       disease. "    15


     18                  Accordi~g to the CDC, the survival rate for Covid-19 is 99.8% for t~e 20-49 age group,
     19       thus most likely covering ALL the Services Members facing the DoD mandate. The DoD
     20       mandate disregards natural immunity or immunity from a prior infection, preferring to rely on
     21       "CDC recommendations." Amicus requests the Court to take judicial notice of the Brownstone
     22       Institute, which aggr~gates published worldwide studies affirming naturally acquired immunity
     23       versus vaccine induced immunity to Covid-19, with links and documents for each. 16
     24                  The Court may eventually conclude post-discovery that the DoD mandate relies on
     25       presumptions, is unjustified, and therefore "ultra vires," (i.e., VOID). (Emphasis added) ..
     26
              15
          '        https://ndc.services.cdc.gov/case-definitions/coronavirus-disease-2019-2021/ (last visited Dec. 1, 2021)
     27
              16
                   https://brownstone. org/articles/79-research-studies-affirrn-naturally-acqtiired-immunity-to-covid- f 9-documented-
     28
              linked-and;quoted/ (last visited Dec. 1, 2021)

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           1                   III. DEATH IS AN ADVERSE EVENT OF THE COVID-19 VACCINE
           2                Time and time again, in District Court upon District Court, the defendants supporting
           3    Covid-19 vaccine mandates, (including the Defendants in this case), will often parrot the rhetoric
                                                                                                 y


           4    spewed by various politicians, mainstream media pundits, and Dr. Fauci himself, that the Covid-
           5    19 vaccines are "safe and effective."
            6               As Amicus will show, these statements are not supported by the warnings on the EUA
           7    fact sheets, or in the publicly held databases of the department of Health and Human ~ervices
           8    ("HHS"), which tracks the Vaccine Adverse Events Reporting System ("VAERS"). 17 There are
           9    other databases that extrapolat~ the data from HHS, such as OpenVaers.com, 18 MedAlerts.org, 19
          10    and VaersAnalysis.info. 20
          11                Amicus informs the Court that CDC.gov makes a clear distinction between EUA Fact
          12    Sheets and Vaccine.Information Sheets ("VIS"), which are only used for licensed vaccines.
          13    (Emphasis added). According to the CDC, "There is no VIS/or COVID-19 vaccines authorized
          14    under an EUA. Instead, the FDA-issued EUA Fact Sheet for Recipients and Caregivers for each
          15    Covid-19 va_ccine must be used " 21 Indeed, the CDC clearly states the following: "Thus far, the
          16    codes and URL links to access the EUA Fact Sheet documents have been developed for the

l         17    following current and potential COVID-19 EUA vaccines. " (See n.21 ). There is no VIS, because
          18    no such licensed Covid-19 vaccine is listed. (Emphasis added).
          19               Plaintiffs have attached the Pfizer-BioNTech EUA fact sheet for recipients (i.e., the one
          20    given to the public), which lists short term side effects, including injection site pain, headache,
    .,    21    tiredness, etc. (See Doc 26-5 at 5). The ;BUA fact sheet states, "These may not be all the possible
          22    side effects of the vaccine. Serious and unexpected side effects may occur." The EUA fact sheet
          23    for recipients fails to disclose EXACTLY what are these "serious and unexpected si~e effects. "
          24                                                                                                           ,.
                17
                     https://vaers.hhs.gov/ (last visited Dec. 1, 2021)
          25
                18
                     https://openvaers.com/covid-data (last visited Dec. 1, 2021)
          26
                19
                     https://medalerts.org/ (last visited Dec. 1, 2021)
          27
                20
                     https://vaersanalysis.info/ (last visited Dec.' 1, 2021)
         · 28
                21
                     https://www.cdc.gov/vaccines/covid-l 9/eua/index.html (last visited Dec. 1, 2021)

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                ,




       1              In contrast, the -Pfizer-BioNTech J;:U A fact sheet on page 15 for vaccine providers 22 (i.e.,
       2   the one given to healthcare providers such as pharmacists, hospitals, doctors, clinicians, etc.)
                                                                                                                          "\
                                                                                                                           l
       3   includes DEATH as a reportable serious adverse event, whereas the EUA fact sheet for
       4   recipients makes no mention of DEATH as a possible severe adverse event. (Emphasis added).
       5              This discrepancy within the two fact sheets is a monstrosity, is evident that the Armed
       6   Forces are being deceivea for an allegedly "FDA approved" Covid-:19 vaccine to support a DoD
       7   mandate, and a failure to disclose that should "shock the contemporary conscience" of ANY
       8   District Court.
   1
       9              The EUA fact sheet for vaccine providers also makes another shocking revelation: "The,
  10       vaccination provider is responsible for responding to FDA requests for information about
  11       vaccine administration errors, adverse events; 'cases of MIS in adults and children, arid cases of·
  12       COVID-19 that result in hospitalization or deathfollowing administration of the Pfizer-
  13       BioNTech COVID-19 vaccine to recipients." (Emphasis added). (See n.22 at page 15):
  14       Obviously, the phrase ''following administratjon" means AFTER giving the shot to the recipient.
  15                  What makes matters worse, the FDA held a "Vaccines and Related· Biological Products
                                                                         23
  16       Advisory Committee'.' meeting on October 22, 2020,                  two months pr.ior to the issuance of the
  17       EUA:Slide 17 in that meeting shows a "DRAFT Working list·ofpossibfe·adverse event
·• 18      outcomes, including, but not limited to, Guillain-Barre syndrome, Myocardi~is/pericarditis,
  19       Anaphylaxis, Multisystem Inflammatory Syndrome in Children, Thrombocytopenia, and
  20       DEATH " (Emphasis added).

  21                  It is ho wonder that BOTH Robert and Mulvihill, along with 200,000 service members

  22       are choosing to opt-out of the DoD mandate. Pursuant to the EUA, the fact sheet clearly states
  2 3 ' that "it is your choice to receive or not receil;e the vaccine." (See Doc 26-5 at 6). (Emphasis
  24       _added). It would be extremely disingenuous to tell the Plaintiffs, "Nobody is forcing you. If you
  25       don't want to take the Covid-19 vaccine, then go serve another country somewhere else."
  26
           22
                https://www.fda.gov/media/l 537 l 5/download
  27                                                                                                                      ,.
           23
                https://www .fda.gov/media/143557/download
  28

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 1                                             CONCLUSION
 2          Based on the foregoing, CO MIN ARTY is not "interchangeable" with ANY of the Covid-
 3   19 vaccines, including Pfizer-BioNTech. The CDC lists "deaths with COVID-19" as confirmed
 4   or presumed, thus making the total number of actual deaths unquantifiable. Finally, the Covid-19
 5   vaccines are experimental biological products that fail to disclose "DEATH" as a severe adverse
 6   event for recipients. To ignore these facts is to engage in a blatant act of willful blindness.
 7          The concept of "willful blindness," originating in a jury charge in 1982, is that one may
 8   not "close his eyes, when he pleases, upon all sources of information, and then excuse his
 9   ignorance by saying that he does not see anything." See Global-Tech Appliances, Inc. v. SEB
10   S.A., 131 S.Ct. 2060, 2068-71 (2011 ). (Emphasis supplied).
11

12   WHEREFORE, Amicus heeds to the Court's wisdom to accept the factual references

13   incorporated herein as warranted to make a final determination properly and fairly on the merits,
14   not only for the sake of equity and justice, but also to preserve the benefit of public interest.
15
16          Respectfully submitted this day of:     ~C,      Z J 2o Z- }
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18
19
                                                    By:   _e_~----=~---
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 1                                   CERTIFICATE OF SERVICE
 2          I, Pritish Vora, Amicus Curiae, hereby certify that I mailed the original of the Amicus
 3   Curiae brief in the above referenced matter to the Clerk of the Court on December 2, 2021, via
 4   USPS Express Mail, and a copy was sent to each of the parties' respective counsel below via
 5   USPS first class mail, postage prepaid.
 6
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